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           UNITED STATES DISTRICT COURT
           WESTERN DISTRICT OF MICHIGAN
                SOUTHERN DIVISION
                   _______________
SHANNA GROVE,

                  Plaintiff,                     Case No. 1:21-cv-00354
vs.                                              Hon. Paul L. Maloney

WZZM a/k/a WZZM-TV a/k/a WZZM13,
TEGNA, INC., and COMBINED
COMMUNICATIONS OF OKLAHOMA, LLC,

                  Defendants.
                                      /
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Raymond J. Sterling (P34456)
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                                   /

                               JURY DEMAND

      Plaintiff, Shanna Grove, requests and demands a trial by jury.

                                Respectfully submitted,

                                STERLING ATTORNEYS AT LAW, P.C.

                                By:   /s/James C. Baker
                                      James C. Baker (P62668)
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Dated: April 30, 2021
